                    UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                               Byron White United States Courthouse
                                         1823 Stout Street
                                     Denver, Colorado 80257
                                          (303) 844-3157
                                     Clerk@ca10.uscourts.gov
Christopher M. Wolpert                                                            Jane K. Castro
Clerk of Court                                                                Chief Deputy Clerk
                                        June 12, 2025


Mr. Edwin Powell Miller
950 West University Drive, #300
Rochester, MI 48307-0000

Mr. David W. Scofield
Peters Scofield
7430 Creek Road, Suite 303
Sandy, UT 84093

RE:        25-4066, Teresa v. Mayo Foundation for Medical Education and Research
           Dist/Ag docket: 4:24-CV-00033-AMA
           SECOND NOTICE

Dear Counsel:

You have failed to comply with the requirements of the Federal Rules of Appellate
Procedure or Tenth Circuit Rules in the following respects:

You have not filed a copy of a transcript order or a statement of why a transcript was not
ordered. See Fed. R. App. P. 10(b) and 10th Cir. R. 10.2(B)(1).

An entry of appearance and certificate of interested parties has not been filed as required
by 10th Cir. R. 46.1.

Appellant's docketing statement has not been timely filed. See 10th Cir. R. 3.4.

Please correct the stated deficiencies within three days of the date of this notice. Please
note that if the documents are not filed, the appeal will be dismissed for failure to
prosecute under 10th Cir. R. 42.1.
Please contact this office if you have questions.

                                            Sincerely,



                                            Christopher M. Wolpert
                                            Clerk of Court



cc:       Maryann Bauhs
          Andrew Brantingham
          Brock Huebner
          Milo Steven Marsden
          Michael Edward Rowe



CMW/sls




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